                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:19-CR-00147-RJC
USA                                        )
                                           )
    v.                                     )              ORDER
                                           )
GLENDA TAYLOR-SANDERS                      )
                                           )

         THIS MATTER is before the Court on the defendant’s second Motion to

Withdraw Guilty Plea, (Doc. No. 60), and the government’s Response, (Doc. No. 61).

         The defendant now claims that the government breached the plea agreement

by asserting that the defendant’s previous attempt to withdraw her guilty plea

negates acceptance of responsibility and by declaring that it will not move for the

additional offense level reduction for acceptance under USSG §3E1.1(b); therefore,

she is entitled to withdraw from the plea agreement and proceed to trial. (Doc. No.

20 at 1, 5). Although the defendant cites one portion of the Plea Agreement

regarding the government’s obligation regarding the third point for acceptance, (Id.

at 4), she ignores its clear language stating her attempt to withdraw her plea

constitutes a breach of the Plea Agreement, relieving the government of its

obligations under the agreement and possibly constituting a failure to accept

responsibility, (Doc. No. 27: Plea Agreement ¶¶ 3, 4). Thus, her motion is without

merit. See United States v. Under Seal, 902 F.3d 412, 420 (4th Cir. 2018)

(defendant’s breach of plea agreement entitles government to release from

agreement).




         Case 3:19-cr-00147-RJC-DCK Document 64 Filed 09/25/20 Page 1 of 2
       IT IS, THEREFORE, ORDERED that the Defendant’s second Motion to

Withdraw Plea, (Doc. No. 60), is DENIED.

 Signed: September 25, 2020




                                       2

      Case 3:19-cr-00147-RJC-DCK Document 64 Filed 09/25/20 Page 2 of 2
